08-13555-mg             Doc 28659             Filed 06/14/12 Entered 06/14/12 11:04:31                                   Main Document
                                                          Pg 1 of 6


 B 210A (Form 210A) (12/09)



                              UNITED STATES BANKRUPTCY COURT
                                             Southern District Of New York

 In re: Lehman Brothers Holdings Inc.                                                                                 Case No. 08-13555



                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY


 A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
 evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
 claim referenced in this evidence and notice.



 Stichting The IAMEX Value Foundation                                       M.J.F. Heijltjes

 Name of Transferee                                                         Name of Transferor

 Name and Address where notices to transferee should
 be sent:

 Stichting The IAMEX Value Foundation                                       Court Claim #:               65674
 Keizersgracht 268                                                          Amount of Claim Filed:       USD $63.800,24
 1016 EV AMSTERDAM                                                          Amount of Claim Transferred: USD $63.800,24
 The Netherlands                                                                                                    (equivalent to
                                                                                                                    EUR € 42.000,00)
 Mr. J. Kaptein
 Phone: +31 20 670 44 49                                                    Date Claim Filed:                       November 23, 2009
                                                                            ISIN/CUSIP:                             XS0229584296




 I declare under penalty of perjury that the information provided in this notice is true and correct to the
 best of my knowledge and belief.




 By:          ________________________________                               Date: June 14, 2012

              Transferee/Transferee’s Agent

 Name:        J. Kaptein
 Title:       Director

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
08-13555-mg          Doc 28659         Filed 06/14/12 Entered 06/14/12 11:04:31                        Main Document
                                                   Pg 2 of 6


 Form 210B (12/09)



                          UNITED STATES BANKRUPTCY COURT
                                       Southern District Of New York

 In re: Lehman Brothers Holdings Inc.                                                                Case No. 08-13555



                                  NOTICE OF TRANSFER OF CLAIM
                                   OTHER THAN FOR SECURITY


 Claim No. was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the alleged transferor. As evidence
 of the transfer of that claim, the transferee filed a Transfer of Claim Other than for Security in the clerk’s office of
 this court on .



 M.J.F. Heijltjes                                                 Stichting The IAMEX Value Foundation

 Name of Alleged Transferor                                       Name of Transferor



 Haagbeukstraat 3                                                Keizersgracht 268
 6523 GK NIJMEGEN                                                1016 EV AMSTERDAM
 The Netherlands                                                 The Netherlands




                                    ~~DEADLINE TO OBJECT TO TRANSFER~~
 The alleged transferor of the claim is hereby notified that objections must be filed with the court within twenty-one
 (21) days of the mailing of this notice. If no objection is timely received by the court, the transferee will be
 substituted as the original claimant without further order of the court.




 Date:______________________                                      ___________________________________________
                                                                  CLERK OF THE COURT
08-13555-mg      Doc 28659         Filed 06/14/12 Entered 06/14/12 11:04:31                       Main Document
                                               Pg 3 of 6



        AGREEMENT AND EVIDENCE OF TRANSFER OF CLAIM
                                    LEHMAN PROGRAM SECURITY

 TO:   THE DEBTOR AND THE BANKRUPTCY COURT

 1.    For value received, the adequacy and sufficiency of which are hereby acknowledged, M.J.F. Heijltjes
       (“Seller”) hereby unconditionally and irrevocably sells, transfers and assigns to Stichting The IAMEX
       Value Foundation (the “Purchaser”), and Purchaser hereby agrees to purchase, as of the date hereof, (a) an
       undivided interest in, to the extent of the amount specified in Schedule 1 attached hereto (the “Purchased
       Claim”), in Seller’s right, title and interest in and to Proof of Claim Number 65674 filed by or on behalf of
       Seller (the “Proof of Claim”) against Lehman Brothers Holdings, Inc., debtor in proceedings for
       reorganization (the “Proceedings”) in the United States Bankruptcy Court for the Southern District of New
       York (the “Court”), administered under Case No. 08-13555 (JMP) (the “Debtor”), (b) all rights and benefits
       of Seller relating to the Purchased Claim, including without limitation (i) any right to receive cash,
       securities, instruments, interest, damages, penalties, fees or other property, which may be paid or
       distributed with respect to the Purchased Claim or with respect to any of the documents, agreements, bills
       and/or other documents (whether now existing or hereafter arising) which evidence, create and/or give rise
       to or affect in any material way the Purchased Claim, whether under a plan or reorganization or liquidation,
       pursuant to a liquidation, or otherwise, (ii) any actions, claims (including, without limitation, “claims” as
       defined in Section 101(5) of Title 11 of the United States Code (the “Bankruptcy Code”)), rights or lawsuits
       of any nature whatsoever, whether against the Debtor or any other party, arising out of or in connection
       with the Purchased Claim, (iii) any rights and benefits arising out of or in connection with any exhibit,
       attachment and/or supporting documentation relating to the Purchased Claim, and (iv) any and all of
       Seller’s right, title and interest in, to and under the transfer agreements, if any, under which Seller or any
       prior seller acquired the rights and obligations underlying or constituting a part of the Purchased Claim, but
       only to the extent related to the Purchased Claim, (c) the security or securities (any such security, a
       “Purchased Security”) relating to the Purchased Claim and specified in Schedule 1 attached hereto, and (d)
       any and all proceeds of any of the foregoing (collectively, as described in clauses (a), (b), and (c), the
       “Transferred Claims”),. For the avoidance of doubt, Purchaser does not assume and shall not be
       responsible for any obligations or liabilities of the Seller related to or in connection with the Transferred
       Claims or the Proceedings.
 2.    Seller hereby represents and warrants to Purchaser that: (a) the Proof of Claim was duly and timely filed on
       or before 5:00 p.m. (prevailing Eastern Time) on November 2, 2009 in accordance with the Court’s order
       setting the deadline for filing proofs of claim in respect of “Lehman Program Securities”; (b) the Proof of
       Claim relates to one or more securities expressly identified on the list designated “Lehman Programs
       Securities” available on http://www.lehman-docket.com as of July 17, 2009; (c) Seller owns and has good
       and marketable title to the Transferred Claims, free and clear of any and all liens, claims, set-off rights,
       security interests, participations, or encumbrances created or incurred by Seller or against Seller; (d) Seller
       is duly authorized and empowered to execute and perform its obligations under this Agreement and
       Evidence of Transfer; (e) the Proof of Claim includes the Purchased Claim specified in Schedule 1 attached
       hereto; (f) Seller has not engaged in any acts, conduct or omissions, or had any relationship with the Debtor
       or its affiliates, that, with respect to the Transferred Claim, will give rise to any setoff, defense or
       counterclaim, or will result in Purchaser receiving in respect of the Transferred Claims proportionately less
       payments or distributions or less favorable treatment than other unsecured creditors; and (g) all amounts
       due and owing in respect of each Purchased Security have been declared due and payable in accordance
       with the terms of one or more agreements or instruments relating to any such Purchased Security.
 3.    Seller hereby waives any objection to the transfer of the Transferred Claims to Purchaser on the books and
       records of the Debtor and the Court, and hereby waives to the fullest extent permitted by law any notice or
       right to receive notice of a hearing pursuant to Rule 3001(e) of the Federal Rules of Bankruptcy Procedure,
       the Bankruptcy Code, applicable local bankruptcy rules or applicable law, and consents to the substitution
       of Seller by Purchaser for all purposes in the case, including, without limitation, for voting and distribution
       purposes with respect to the Transferred Claims. Purchaser agrees to file a notice of transfer with the Court
       pursuant to Federal Rule of Bankruptcy Procedure 3001(e) including this Agreement and Evidence of
       Transfer of Claim. Seller acknowledges and understands, and hereby stipulates, that an order of the Court
08-13555-mg       Doc 28659         Filed 06/14/12 Entered 06/14/12 11:04:31                     Main Document
                                                Pg 4 of 6


        may be entered without further notice to Seller transferring to Purchaser the Transferred Claims,
        recognizing Purchaser as the sole owner and holder of the Transferred Claims, and directing that all
        payments or distributions of money or property in respect of the Transferred Claim be delivered or made to
        Purchaser.
 4.     All representations, warranties, covenants and indemnities shall survive the execution, delivery and
        performance of this Agreement and Evidence of Transfer of Claim and the transactions described herein.
        Purchaser shall be entitled to transfer its rights hereunder without any notice to or the consent of Seller.
        Seller hereby agrees to indemnify, defend and hold Purchaser, its successors and assigns and its officers,
        directors, employees, agents and controlling persons harmless from and against any and all losses, claims,
        damages, costs, expenses and liabilities, including, without limitation, reasonable attorneys’ fees and
        expenses, which result from Seller’s breach of its representations and warranties made herein.

 5.     Seller shall promptly (but in any event no later than three (3) business days) remit any payments,
        distributions or proceeds received by Seller in respect of the Transferred Claims to Purchaser. Seller has
        transferred, or shall transfer as soon as practicable after the date hereof, to Purchaser each Purchased
        Security to such account, via Euroclear or Clearstream (or similar transfer method), as Purchaser may
        designate in writing to Seller. This Agreement and Evidence of Transfer supplements and does not
        supersede any confirmation, any other automatically generated documentation or any applicable rules of
        Euroclear or Clearstream (or similar transfer method) with respect to the purchase and sale of the Purchased
        Security.
 6.     Each of Seller and Purchaser agrees to (a) execute and deliver, or cause to be executed and delivered, all
        such other and further agreements, documents and instruments and (b) take or cause to be taken all such
        other and further actions as the other party may reasonably request to effectuate the intent and purposes,
        and carry out the terms, of this Agreement and Evidence of Transfer, including, without limitation,
        cooperating to ensure the timely and accurate filing of any amendment to the Proof of Claim.
 7.     Seller’s and Purchaser’s rights and obligations hereunder shall be governed by and interpreted and
        determined in accordance with the laws of the State of New York (without regard to any conflicts of law
        provision that would require the application of the law of any other jurisdiction). Seller and Purchaser each
        submit to the jurisdiction of the courts located in the County of New York in the State of New York. Each
        party hereto consents to service of process by certified mail at its address listed on the signature page
        below.


 IN WITNESS WHEREOF, this AGREEMENT AND EVIDENCE OF TRANSFER OF CLAIM is executed this
 day .

 On behalf of:
 M.J.F. Heijltjes                                          Stichting The IAMEX Value Foundation
 Stichting The IAMEX Value Foundation




 By:__________________________                             By:__________________________
 Name: J. Kaptein                                          Name: J. Kaptein
 Title: Director                                           Title: Director

 Keizersgracht 268                                         Keizersgracht 268
 1016 EV AMSTERDAM                                         1016 EV AMSTERDAM
 The Netherlands                                           The Netherlands
                   08-13555-mg         Doc 28659        Filed 06/14/12 Entered 06/14/12 11:04:31                 Main Document
                                                                    Pg 5 of 6



                                                                    SCHEDULE 1
                                                                  Transferred Claims

Purchased Claim

100,00% of nominal claim number 65674 which totals USD $63.800,24, which is the equivalent of EUR € 42.000,00 (the full outstanding nominal amount of
Proof of Claim as of June 14, 2012), plus all accrued interest, fees and other recoveries due.

Lehman Programs Securities to which Transfer Relates


                                                                                                                                          Principal/
 ISIN / CUSIP        Description                                  Issuer                                Guarantor
                                                                                                                                          Notional Amount

                     LEHMAN 30YNC5Y STEEPENER 7.25
 XS0229584296                                                     Lehman Brothers Treasury Co. B.V.     Lehman Brothers Holdings Inc.     EUR 42.000,00
                     NOTE




                                                                      Schedule 1–1
08-13555-mg   Doc 28659   Filed 06/14/12 Entered 06/14/12 11:04:31   Main Document
                                      Pg 6 of 6
